                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR07-3010-MWB
 vs.                                                   DETENTION ORDER
 ANTHONY HOLLAND,
               Defendant.
                                ____________________


        This matter came on for detention hearing on March 8, 2007. Assistant U.S.
Attorney Forde Fairchild appeared on behalf of the plaintiff (the “Government”). The
defendant Anthony Holland appeared in person with his attorney, Patrick Parry. The
Government offered the testimony of Hancock County Deputy Sheriff Ray Penning.
Holland offered the testimony of his wife, Janelle Holland.
        The court must determine whether any condition or combination of conditions will
reasonably assure Holland’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
        The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Holland as required and the safety of the community
if the court finds there is probable cause to believe Holland committed an offense of the
type identified in 18 U.S.C. § 3142(e) for which a maximum term of imprisonment of ten
years or more is prescribed by law. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f). The
probable cause element of section 3142(e) that triggers the rebuttable presumption of risk


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of flight and danger to the community may be established through evidence presented at
the detention hearing of an offense which is subject to the rebuttable presumption. See
Apker, 964 F.2d at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988).
       In the present case, the evidence indicates that until his lab was dismantled by law
enforcement in April 2006, Holland operated a sophisticated methamphetamine
manufacturing operation that he took extraordinary measures to conceal from detection.
He installed numerous surveillance cameras on his property. He possessed weapons, and
the evidence indicates he both threatened someone with a weapon and he traded weapons
for drugs on at least one occasion. It also appears from Holland’s criminal history that he
has a long-standing problem with alcohol abuse that has led to serious consequences for
himself and others. On the issue of risk of flight, Holland is facing a potential term of life
imprisonment. Holland managed to carry on a successful drug operation without detection
right under his wife’s nose, and the record indicates that despite her love for him, his wife
has been unable to exert any control over Holland’s actions.
       Further, Holland has failed to offer any evidence to rebut the presumption that he
is a danger to the community or a risk of flight. The presumption arises from the charge
itself – a serious drug charge involving the manufacture and distribution of a significant
quantity of methamphetamine. See United States v. Cox, 635 F. Supp. 1047, 1055 (D.
Kan. 1986) (citing United States v. Fortna, 769 F.2d 243, 247 (5th Cir. 1985). Viewing
the record as a whole, the court finds nothing to indicate Holland would be able to refrain
from continuing to engage in criminal activities if he were released.
       Accordingly, the court finds the Government has proved by a preponderance of the
evidence that Holland is a flight risk, and by clear and convincing evidence that Holland
would be a danger to the community if released. Therefore, the court finds the following:




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      1.      Holland is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.
      2.      The Attorney General shall afford Holland reasonable opportunity for private
consultation with counsel while detained.
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Holland to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Holland must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 8th day of March, 2007.




                                          PAUL A. ZOSS
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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